                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
v.                                            )
                                              )       Case No. 3:22-CR-00282
GLEN CASADA and                               )       District Judge Eli J. Richardson
CADE COTHREN                                  )
                                              )
        Defendants.                           )

                        DEFENDANT CADE COTHREN’S
              MOTION TO CONTINUE TRIAL AND RELATED DEADLINES

        Comes now Defendant Cade Cothren, by and through undersigned counsel, and

respectfully moves this Court to continue the trial in this matter and all related deadlines pending

the United States Supreme Court’s decision in Snyder v. United States, Case No. 23-103. The

Supreme Court granted certiorari on December 13, 2023, and the Court is expected to issue a

decision in or around June 2024. The question presented in Snyder is “[w]hether section 666

criminalizes gratuities, i.e., payments in recognition of actions the official has already taken or

committed to take, without any quid pro quo agreement to take those actions.” James E. Snyder v.

U.S., Case No. 23-103, Pet’n for Certiorari at I (Aug. 1, 2023). The elements of 18 U.S.C. § 666

are directly at issue in this case (see Doc. No. 3, hereinafter “Indictment,” at Counts 1-4), and the

Supreme Court is expected to specifically articulate and clarify the elements the United States is

required to prove at trial.

        The Snyder decision may or will materially impact nearly every phase of this case,

including the Court’s ruling on the pending Motions to Dismiss (Doc. Nos. 59 and 65), the

presentation of the defense case, Rule 29 motions, and jury instructions, among other things.

Considering the monumental impact that the Snyder decision will have on this complex case and




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the cognizable risk of prejudice to Defendants if the trial proceeds as scheduled, Mr. Cothren

respectfully requests that the Court continue the trial currently set to begin on March 5, 2024 and

reset the trial for a date in the fall of 2024, after the Supreme Court has rendered its decision in

Snyder.

                                      LEGAL STANDARD

       Where, as here, the Supreme Court is addressing an issue at the core of a case, federal

courts routinely find that a continuance is appropriate. See In re Embry, 831 F.3d 377, 377 (6th

Cir. 2016) (holding resolution of appeal in abeyance pending Supreme Court’s decision in another

case); Chowhury v. Worldtel Bangladesh Holding, Ltd., 746 F.3d 42, 47-48 (2d Cir. 2014) (same);

Golinski v. U.S. Off. Of Pers. Mgmt., 724 F.3d 1048, 1050 (9th Cir. 2023) (holding resolution of

appeal in abeyance pending a Supreme Court’s decision on a central issue); United States v.

Garcia-Gomez, 2019 WL 331279 (N.D. Cal. Jan. 25, 2019) (staying resolution of habeas petition

pending resolution of a question of law by the Supreme Court).

       A district court enjoys “wide latitude in deciding how to exercise its discretion in applying

the ends-of-justice provision of the Speedy Trial Act that governs whether a continuance should

be granted.” United States v. Strickland, 342 Fed. Appx. 103, 109-10 (6th Cir. 2009). A delay

occasioned by a district court’s grant of a continuance is excluded from the time within which a

trial must start under the Speedy Trial Act if “the ends of justice served by taking such action

outweigh the best interest of the public and the defendant in a speedy trial.” 18 U.S.C. §

3161(h)(7)(A). The Speedy Trial Act requires district courts to consider several factors when

determining whether to continue a trial date, including the degree of complexity of the case and

whether the failure to grant the continuance would “result in a miscarriage of justice” and/or deny




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one or more parties “reasonable time necessary for effective preparation.” 18 U.S.C. §

3161(h)(7)(B); see also United States v. White, 920 F.3d 1109, 1115 (6th Cir. 2019).

        An ends-of-justice continuance will allow this Court and the parties to benefit from the

guidance that the Supreme Court will provide on key issues directly relevant to this complex case.

The appellate circuit courts are conflicted in their interpretations of Section 666, and the Supreme

Court is months away from resolving this circuit split. Moving forward without such guidance

presents a significant risk of wasting the time and resources of this Court, the parties, and the jury.

                                           ARGUMENT

        The interests of judicial economy and fairness to the parties, particularly Defendants, weigh

heavily in favor of continuing the trial date until after the Supreme Court issues its decision in

Snyder.   The Supreme Court has agreed to hear a case arising out the Seventh Circuit’s

interpretation of the elements of 18 U.S.C. § 666 – a key charge in this case. The issue presented

is “[w]hether section 666 criminalizes gratuities, i.e., payments in recognition of actions the

official has already taken or committed to take, without any quid pro quo agreement to take those

actions.” Snyder, Pet’n for Certiorari at 2 (attached hereto as Exhibit A; Order granting such

Petition attached as Exhibit B). In addition to addressing the foregoing question, the Supreme

Court likely will resolve whether a quid pro quo is required to prove bribery under Section 666.

The Solicitor General and the Petitioner in Snyder appeared to agree that Section 666, at the very

least, prohibits quid pro quo bribery in filings before the Supreme Court.1



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        The Solicitor General argued to the Supreme Court that the Seventh Circuit “correctly
determined that Section 666 prohibits both quid pro quo bribery and the corrupt acceptance of
gratuities” and that section 666 “straightforwardly encompasses” quid pro quo bribery.
Government’s Response to Pet’n for Certiorari at 9-10 (attached as Exhibit C). The Solicitor
General repeatedly referred to “quid pro quo bribery” when addressing the scope of section 666,
mirroring the Seventh Circuit’s observation in Snyder that a “bribe requires a quid pro quo – an
agreement to exchange this for that, to exchange money or something else of value for influence
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       It is unclear at this juncture whether the United States’ position in this case and the Solicitor

General’s position in Snyder are aligned, however. The United States argued in its Consolidated

Response to Defendants’ Motions to Dismiss that Section 666 “requires only the corrupt intent to

influence official business, not a quid pro quo of something of value in exchange for a specific

official act.” (Doc. No. 75 at n. 6) (citing United States v. Abbey, 560 F.3d 513, 520–21 (6th Cir.

2009)). Notwithstanding the Solicitor General’s position in Snyder, the United States will very

likely argue at trial that it is not required to prove a quid pro quo bribery in this case based on

Abbey and current Sixth Circuit precedent. Mr. Cothren disagrees.

       The Snyder decision may or will impact multiple stages of this case, including, but not

limited to:

       Motions to Dismiss: The Indictment charges Mr. Cothren with conspiring to violate, and

violating, Section 666. (Indictment at Counts I, II, III, IV). Although the government has

advanced a theory of quid pro quo bribery under Section 666, its position appears to be that it is

not required to prove a quid pro quo arrangement because “corrupt intent to influence State

business is all that § 666(a)(2) requires . . . .” (Doc. No. 75 at n. 6). The United States is out of

step with the Solicitor General on that point. The question presented in Snyder seeks clarity on

whether Section 666 criminalizes gratuities while presuming that Section 666, at a minimum,

prohibits quid pro quo bribery. The Supreme Court is expected to articulate the exact elements the

government is required to prove under Section 666 in a matter of months. This Court’s adjudication

of Defendants’ Motions to Dismiss could also be informed by the Snyder decision. And, even if

this Court’s resolution of these motions is not interdependent on Snyder, proceeding to trial when




in the future.” 71 F.4th 555, 579 (7th Cir. 2023). The Solicitor General’s position appears to
conflict with the prosecutors’ view in this case.
                                                  4

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the Supreme Court is about to provide guidance on the elements of Section 666 could unnecessarily

expend significant judicial and other resources.

       Rule 29: The Snyder decision will also impact the issues presented in Mr. Cothren’s

potential Rule 29 motion(s). After all, the government is required to prove the essential elements

of Section 666 and all other charges beyond a reasonable doubt. In re Winship, 397 U.S. 358, 362

(1970). With the Snyder decision, the Supreme Court will, in all likelihood, clarify exactly those

essential elements.

       Jury Instructions: Perhaps most importantly, the Snyder decision will affect the jury

instructions in this case. Providing clear and correct instructions to the jury in its consideration of

the evidence is critical in every case. Although the government is evidently advancing a classic

bribery and kickback theory in this case, it has already averred that it is not required to prove a

quid pro quo bribery arrangement beyond a reasonable doubt to secure a conviction under Section

666. The government may disagree with this description, but it cannot dispute the Snyder case may

well have significant impact on its theory.

       A continuance of the trial date will remove the risk that the Court and the parties will waste

time and resources working in a murky landscape around Section 666 that is about to be clarified

by the Supreme Court. Denying the continuance will prejudice Mr. Cothren by requiring him to

prepare for trial without a clear understanding of the elements of the charges he is defending.

Without a continuance, Mr. Cothren will be prejudiced by a lack of finality and, as such, may be

required to incur the expense and other challenges associated with a second trial. Further, a

continuance does not prejudice the government in any way. In fact, the government will also likely

benefit from the clarity of the Snyder decision. Judicial efficiency and the parties’ interests weigh

heavily in favor of a continuance in this case, which may amount to just a handful of months.



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       To be clear, Mr. Cothren is not asking to simply put this case on a shelf for the next few

months. The parties will make good use of the time during any continuance. As noted, this is an

incredibly complex case with a massive amount of discovery. Just last month, the government

provided its ninth supplemental production. The production included approximately 699 gigabytes

of data, including 11 computer and phone extractions, each of which contains thousands of

files/documents. Counsel for Mr. Cothren are committed to continuing to work diligently to

prepare for trial over the course of this year if a continuance is granted.

                                      MEET AND CONFER

       On Tuesday, January 9, 2024, the undersigned counsel for Mr. Cothren conferred with

counsel for the government about a potential continuance of the trial date pending the Snyder

decision. The government requested time to consider the request and informed undersigned

counsel on Thursday, January 11, 2024 that “the question presented in Snyder does not implicate

the government’s proof in this prosecution.” The government further noted that it would not

oppose a brief continuance on “an alternative basis,” such as “scheduling or preparation,” provided

the trial was completed by May 31, 2024. As discussed above, Mr. Cothren maintains that all

parties and the Court will be best served by resetting the trial in this case for a date following the

Snyder decision.

       WHEREFORE, Defendant Cade Cothren respectfully requests this Court enter an Order

continuing the trial in this matter and all related deadlines pending the United States Supreme

Court’s decision in Snyder v. United States and resetting the trial to a date in the fall of 2024, or

another available date after the Supreme Court has rendered its decision.




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                                        Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing has been served on the following via

the Court’s CM/ECF system:

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on this the 16th day of January 2024.
                                                     /s/ Cynthia A. Sherwood




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